                                       Case 8:20-cv-00043-JVS-ADS Document 58 Filed 03/11/20 Page 1 of 7 Page ID #:364




                                  1
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                                        Facsimile: (619) 330-2991
                                  5

                                  6     Attorneys for Defendant, JAWAD NESHEIWAT
                                  7

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                                  9
                                                           UNITED STATES DISTRICT COURT
                                  10
                                         CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION (SANTA ANA)
                                  11
LEPISCOPO & ASSOCIATES LAW FIRM




                                  12    BUREAU OF CONSUMER            )           Case No. 8:20-cv-00043-JCS-ADS
                                        FINANCIAL PROTECTION,         )
                                  13
                                                                      )           NOTICE OF LODGMENT:
                                  14       Plaintiff,                 )
                                                                      )           [PROPOSED] ORDER RE:
                                  15
                                           v.                         )           DEFENDANT JAWAD
                                  16                                  )           NESHEIWAT’S MOTION TO
                                        CHOU TEAM REALTY LLC, et al., )           DISMISS
                                  17
                                                                      )
                                  18       Defendants.                )           [F.R.Civ.P. Rules 12(b)(7) and 19;
                                                                      )            L.R. 7-3]
                                  19
                                                                      )
                                  20                                  )           * This motion is made following the
                                                                      )             conference of counsel pursuant to L.R.
                                  21
                                                                      )             7-3, which took place on 3/2/20.
                                  22                                  )
                                                                      )                  DATE: May 18, 2020
                                  23
                                                                      )                  TIME: 1:30 p.m.
                                  24                                  )            COURTROOM: 10-C
                                                                      )           JUDGE: HON. JAMES V. SELNA
                                  25
                                                                      )           TRIAL DATE: None Set
                                  26

                                  27
                                         NOTICE OF LODGMENT: PROPOSED ORDER RE: DEFENDANT JAWAD NESHEIWAT’S MOTION
                                  28                                     TO DISMISS
                                                                              1
                                       Case 8:20-cv-00043-JVS-ADS Document 58 Filed 03/11/20 Page 2 of 7 Page ID #:365




                                  1
                                                                 NOTICE OF LODGMENT

                                  2     TO THE HONORABLE JAMES V. SELNA, U.S. DISTRICT JUDGE, AND
                                  3     TO ALL PARTIES AND TO THEIR RESPECTIVE COUNSEL OF
                                  4     RECORD:
                                  5           PLEASE TAKE NOTICE that attached hereto is the [PROPOSED] ORDER
                                  6
                                        RE: MOTION TO DIMISS [ECF 56].
                                  7

                                  8
                                        Dated: March 11, 2020.             LEPISCOPO & ASSOCIATES LAW FIRM

                                  9                                        By: /s/ Peter D. Lepiscopo_______
                                  10
                                                                                 PETER D. LEPISCOPO
                                                                                   Counsel of Record
                                  11                                             Attorneys for Defendant, JAWAD
LEPISCOPO & ASSOCIATES LAW FIRM




                                  12                                             NESHEIWAT

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                                         NOTICE OF LODGMENT: PROPOSED ORDER RE: DEFENDANT JAWAD NESHEIWAT’S MOTION
                                  28                                     TO DISMISS
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                                       Case 8:20-cv-00043-JVS-ADS Document 58 Filed 03/11/20 Page 3 of 7 Page ID #:366




                                  1
                                                                      DOCUMENTS SERVED

                                  2           I, Peter D. Lepiscopo, counsel of record for defendant, Jawad Nesheiwat,
                                  3
                                        hereby certify that the following documents have been served in the manner set forth
                                  4

                                  5
                                        below:

                                  6           1.      Notice of Lodgment re: Motion to Dismiss;
                                  7
                                              2.      [PROPOSED] ORDER RE: MOTION TO DISMISS.
                                  8

                                  9
                                                             CERTIFICATE OF SERVICE—CM/ECF

                                  10          I hereby certify that true and correct copies of the foregoing documents have
                                  11
                                        been served on the Court and all counsel of record, who have appeared in this action,
LEPISCOPO & ASSOCIATES LAW FIRM




                                  12

                                  13    via the Court’s electronic filing system on March 11, 2020.

                                  14                 CERTIFICATE OF SERVICE—ELECTRONIC MAIL
                                  15
                                              I hereby certify that pursuant to Local Rule 5-3.2.1 that on this day, March 11,
                                  16

                                  17    2020, I caused to be served by e-mail1 the foregoing documents on each of the
                                  18    following parties:
                                  19
                                              1. Bilal Abdelfattah a/k/a Belal Abdelfattah a/k/a Bill Abdel
                                  20          c/o Nader Nuru, counsel for Bilal Abdelfattah
                                  21          13668 Heatherwood Dr.
                                              Corona, CA 92880
                                  22          E-mail address: nadernurulaw@gmail.com
                                  23

                                  24
                                         1
                                                 Each of the listed parties have consented in writing to accept service of
                                  25             filings in this matter via e-mail until they have filed notices of appearance.
                                  26
                                                 See Fed. R. Civ. P. 5(b)(2)(F).

                                  27
                                         NOTICE OF LODGMENT: PROPOSED ORDER RE: DEFENDANT JAWAD NESHEIWAT’S MOTION
                                  28                                     TO DISMISS
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                                       Case 8:20-cv-00043-JVS-ADS Document 58 Filed 03/11/20 Page 4 of 7 Page ID #:367




                                  1
                                              2. Thomas Chou
                                  2           c/o Sean P. Burke, counsel for Thomas Chou
                                  3
                                              Mattingly Burke Cohen & Biederman LLP
                                              155 East Market Street, Suite 400
                                  4           Indianapolis, IN 46204
                                  5
                                              E-mail address: Sean.Burke@mbcblaw.com

                                  6           3. Chou Team Realty, LLC
                                  7
                                              c/o Sean P. Burke, counsel for Chou Team Realty, LLC
                                              Mattingly Burke Cohen & Biederman LLP
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                                  9
                                              Indianapolis, IN 46204
                                              E-mail address: Sean.Burke@mbcblaw.com
                                  10

                                  11          4. Sean Cowell
                                              c/o Sean P. Burke, counsel for Sean Cowell
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                                              5. Cre8Labs, Inc.
                                  16          c/o Sean P. Burke, counsel for Cre8labs, Inc.
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                                  19          E-mail address: Sean.Burke@mbcblaw.com
                                  20          6. TDK Enterprises, LLC
                                  21          c/o Sean P. Burke, counsel for TDK Enterprises, LLC
                                              Mattingly Burke Cohen & Biederman LLP
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                                  23          Indianapolis, IN 46204
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                                  24

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                                         NOTICE OF LODGMENT: PROPOSED ORDER RE: DEFENDANT JAWAD NESHEIWAT’S MOTION
                                  28                                     TO DISMISS
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                                       Case 8:20-cv-00043-JVS-ADS Document 58 Filed 03/11/20 Page 5 of 7 Page ID #:368




                                  1
                                              7. Robert Hoose
                                              c/o Joshua M. Robbins, counsel for Robert Hoose
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                                              650 Town Center Drive, Suite 1700
                                              Costa Mesa, CA 92626 E-mail address: JRobbins@GGTrialLaw.com
                                  4

                                  5
                                              8. Docu Prep Center, Inc.
                                              c/o Joshua M. Robbins, counsel for Docu Prep Center, Inc.’s
                                  6           agent for service of process Robert Hoose
                                  7
                                              Greenberg Gross LLP
                                              650 Town Center Drive, Suite 1700
                                  8           Costa Mesa, CA 92626
                                  9
                                              E-mail address: JRobbins@GGTrialLaw.com

                                  10          9. Document Preparation Services, LP
                                  11          c/o Joshua M. Robbins, counsel for Document Preparation
                                              Services, LP’s agent for service of process Robert Hoose
LEPISCOPO & ASSOCIATES LAW FIRM




                                  12          Greenberg Gross LLP
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                                  14          E-mail address: JRobbins@GGTrialLaw.com
                                  15
                                              10. Kenneth Lawson
                                  16          c/o William Rothbard, counsel for Kenneth Lawson
                                  17          Law Offices of William I. Rothbard
                                              2333 Canyonback Road
                                  18          Los Angeles, California 90049
                                  19          E-mail address: bill@rothbardlaw.com
                                  20          11. XO Media, LLC
                                  21          c/o William Rothbard, counsel for XO Media, LLC
                                              Law Offices of William I. Rothbard
                                  22          2333 Canyonback Road
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                                              E-mail address: bill@rothbardlaw.com
                                  24

                                  25

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                                         NOTICE OF LODGMENT: PROPOSED ORDER RE: DEFENDANT JAWAD NESHEIWAT’S MOTION
                                  28                                     TO DISMISS
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                                       Case 8:20-cv-00043-JVS-ADS Document 58 Filed 03/11/20 Page 6 of 7 Page ID #:369




                                  1
                                              12. Docs Done Right, Inc.
                                              c/o David Holt, counsel for Docs Done Right, Inc.
                                  2           The Holt Law Firm
                                  3
                                              1432 Edinger Avenue, Ste. 130
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                                  4           E-mail address: dholt@holtlawoc.com
                                  5
                                              13. Docs Done Right, LP
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                                              The Holt Law Firm
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                                  8           Tustin, CA 92780
                                  9
                                              E-mail address: dholt@holtlawoc.com

                                  10          14. Lend Tech Loans, Inc.
                                  11          c/o David Holt, counsel for Lend Tech Loans, Inc.
                                              The Holt Law Firm
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                                  13          Tustin, CA 92780
                                              E-mail address: dholt@holtlawoc.com
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                                  15          15. Eduardo Martinez
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                                  16          The Holt Law Firm
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                                              Tustin, CA 92780
                                  18          E-mail address: dholt@holtlawoc.com
                                  19
                                                  CERTIFICATE OF SERVICE—REGULARL U.S. MAIL
                                  20

                                  21          I hereby certify pursuant to Local Rule 5-3.2.1 that on this day, March 11,
                                  22    2020, I caused to be served by regular U.S. Mail the foregoing documents on each
                                  23
                                        of the following parties:
                                  24

                                  25          16. Certified Doc Prep, Inc.
                                              c/o Haithum Abdelfattah
                                  26
                                              33 Flintridge Ave.
                                  27
                                         NOTICE OF LODGMENT: PROPOSED ORDER RE: DEFENDANT JAWAD NESHEIWAT’S MOTION
                                  28                                     TO DISMISS
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                                       Case 8:20-cv-00043-JVS-ADS Document 58 Filed 03/11/20 Page 7 of 7 Page ID #:370




                                  1
                                              Ladera Ranch, CA 92694

                                  2           17. Certified Doc Prep Services, LP
                                  3
                                              c/o Haithum Abdelfattah
                                              33 Flintridge Ave.
                                  4           Ladera Ranch, CA 92694
                                  5
                                              18. Direct Document Solutions, Inc.
                                  6           c/o Jimmy A. Calderon
                                  7
                                              1221 Viejo Hills Dr.
                                              Lake Forest, CA 92610
                                  8

                                  9
                                              19. Direct Document Solutions, LP
                                              c/o David Sklar
                                  10          26412 Vincente Lugo
                                  11          Mission Viejo, CA 92692
LEPISCOPO & ASSOCIATES LAW FIRM




                                  12          20. Secure Preparation Services, Inc.
                                  13          c/o Aaron Sebreros
                                              1515 E. Ocean Blvd.
                                  14          Long Beach, CA 90802
                                  15
                                              21. Secure Preparation Services, LP
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                                  17          26412 Vincente Lugo
                                              Mission Viejo, CA 92692
                                  18

                                  19          22. David Sklar
                                              26412 Vincente Lugo
                                  20          Mission Viejo, CA 92692
                                  21
                                        Dated: March 11, 2020.                      Respectfully submitted,
                                  22

                                  23                                                /s/ Peter D. Lepiscopo .
                                                                                    PETER D. LEPISCOPO
                                  24
                                                                                      Counsel of Record
                                  25
                                                                                    Attorneys for Defendant, JAWAD
                                  26
                                                                                    NESHEIWAT
                                  27
                                         NOTICE OF LODGMENT: PROPOSED ORDER RE: DEFENDANT JAWAD NESHEIWAT’S MOTION
                                  28                                     TO DISMISS
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